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                 EXHIBIT 1
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                EXHIBIT A
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        NOTICE OF CERTIFICATION OF CLASS, PROPOSED SETTLEMENT,
       PRELIMINARY COURT APPROVAL OF SETTLEMENT, AND HEARING
                    DATE FOR FINAL COURT APPROVAL

       TO:     All persons who performed services for Defendants as Homeworkers
               between January 24, 2012 and June 29, 2016.

       Please read this Notice carefully, it may affect your legal rights to wages from
       working for Altak, Inc. and Miko Kabeshita (“Altak” or “Defendants”).

       If you wish to participate in the settlement of this class action and receive a
       settlement award, you do not need to do anything, except possibly to update
       your mailing address with the Settlement Administrator to ensure it has a
       correct mailing address for you.

       If you wish to comment in favor of the settlement, object to the settlement, or
       if you decide not to participate in the settlement, you must follow the
       directions in this notice.

       If you intend not to participate in the settlement, you must submit a written
       statement to the Settlement Administrator requesting exclusion from the
       Class on or before September 30, 2016. Your written request for exclusion
       must contain your name, address, telephone number, and the last four
       numbers of the social security number you used while performing services as
       a Homeworker for Altak. If you do not submit a written request for
       exclusion, you will be bound by the Settlement.

       The United States District Court for the Northern District of Illinois, Eastern Division

(the "Court"), authorized this Notice. A proposed settlement (the "Settlement") was reached

between the parties in the class action brought on behalf of the following individuals (the

"Class"):

       All persons who performed services for Defendants as Homeworkers between
       January 24, 2012 and June 29, 2016.

       The Court has preliminarily approved the Settlement and conditionally certified the Class

for purposes of the Settlement only. You have received this notice because Altak’s records

indicate that you are a member of the Class.

       This notice is designed to inform you of how you can comment in favor of the

Settlement, object to the Settlement, or elect not to participate in the Settlement. Unless you elect

not to participate in the Settlement, if finally approved by the Court, the Settlement will be
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binding upon you, even if you object to the Settlement.

            YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

PARTICIPATE                             If you want to participate in the Settlement and receive a
                                        portion of the Settlement money, you do not need to do
                                        anything. In exchange for participating, you will release
                                        the claims resolved by this Settlement, as explained
                                        below.

EXCLUDE YOURSELF                        If you want to exclude yourself from the settlement and
                                        not receive any portion of the Settlement money, you
                                        must submit a written statement to the Settlement
                                        Administrator requesting to exclude yourself from the
                                        Settlement. The request must include your name,
                                        address, telephone number, and the last four numbers of
                                        the social security number you used while working as a
                                        Homeworker for Altak.

OBJECT                                  You may file an objection with the Clerk of the Court if
                                        you wish to challenge this Settlement. A copy of your
                                        objection must also be delivered to the Settlement
                                        Administrator.

ATTEND FAIRNESS HEARING                 You may ask to speak in Court about the fairness of the
                                        Settlement, but you are not required to do so to
                                        participate in the Settlement. You must submit a written
                                        request to appear in Court to the Clerk of the Court. A
                                        copy of your request must also be delivered to the
                                        Settlement Administrator.
I.      BACKGROUND OF THE CASE

        On January 24, 2015, Named Plaintiffs Maria Villa-Cortez, Xochitl Vargas, and Agustina

Trujillo-Villegas (“Named Plaintiffs” or “Class Representatives”), filed this Action in the United

States District Court for the Northern District of Illinois, Eastern Division, on behalf of

themselves and others similarly situated, against Altak and currently titled Maria Villa-Cortez,

Xochitl Vargas, and Agustina Trujillo-Villegas, individually and on behalf of all other employees

similarly situated v. Altak, Inc. and Miko Kabeshita, Case No. 15-C-00725.
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         Named Plaintiffs allege that Defendants violated the Illinois Minimum Wage Law

(IMWL) and Fair Labor Standards Act (FLSA) by not paying Homeworkers minimum wages

and overtime wages if they worked more than 40 hours in a week. Defendants deny these

allegations. Defendants allege that they properly classified Homeworkers as independent

contractors and were not employees of Altak.

         After litigation and good-faith negotiations, in which both sides recognized the

substantial risk of an adverse result in the Action, the Named Plaintiffs and Defendants agreed to

settle the Action pursuant to the terms and conditions of the Settlement.

         The Named Plaintiffs and their counsel have concluded that the Settlement is

advantageous, considering the risks and uncertainties to each side of continued litigation. The

Named Plaintiffs and their counsel have determined that the Settlement is fair, reasonable,

adequate, and is in the best interests of the members of the Class. As a member of the Class, you

may participate in the Settlement and share in the proceeds to be paid under the Settlement

unless you elect to exclude yourself as a Class Member.

II.      SUMMARY OF THE SETTLEMENT

         The Settlement provides for the following:

         A.     Who Is Included in the Settlement?

         You are included in the Settlement if you meet all of the conditions set forth in the

beginning of this notice because you are a member of the Class, which is defined in this Notice.

         B.     What Will I Receive from the Settlement?

         Defendants have agreed to pay $363,000 (hereinafter “Settlement Fund”) to settle this

Action. The Settlement Fund will be allocated as follows: (i) payment of minimum and overtime

wages, liquidated damages, interest, and other penalties alleged to be owed to Class Members
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who do not exclude themselves; (ii) the Class Representatives’ Service Payments (explained

below); (iii) Plaintiffs’ attorneys’ fees and costs not to exceed $109,000; and (iv) settlement

administration fees and costs not to exceed $14,000.

       The Net Settlement Fund will equal the Settlement Fund minus attorneys’ fees and costs,

the Class Representatives’ Service Payments, and the claims administration fees and costs. Altak

separately will pay the employer's share of all applicable federal and state taxes on the back

overtime wages paid to Class Members.

       C.      When Will I Get Paid?

       The awards described above will be paid approximately forty-four (44) days after final

approval by the Court of the Settlement, and after all rights to appeal or review are exhausted, or

any appeal or review has been resolved in favor of the Settlement.

       D.      How Was My Individual Settlement Award Calculated?

                      a.      Your share of the Net Settlement Fund was calculated based upon

the number of weeks you worked as a Homeworker and were classified as independent

contractors between January 24, 2012 to June 29, 2016 and your total monthly compensation

during those weeks. Your portion of the Net Settlement Fund is based on dividing your total

monthly compensation that Altak paid to you by an average of 48.8 hours per week to obtain an

hourly rate. Minimum wage damages (if any) were calculated by multiplying the number of

hours worked each month (up to the cap of 280 hours) times the difference between the hourly

rate and the Illinois minimum wage of $8.25 per hour. Overtime damages (if any) will be

calculated by subtracting 160 hours (capped at 280 hours per month) from the Hourly Rate, then

multiplying that number by $12.38 (the applicable overtime rate in Illinois).
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       E.      How Do I Participate in the Settlement?

       In order to participate in the Settlement and receive a portion of the Settlement Fund, you

do not need to do anything. If the Court grants Final Approval of the Settlement, the Settlement

Administrator will mail you your Settlement Award in the form of a check. See page 7 of this

Notice for instructions on updating your mailing address.

       F.      What if I do not want to participate?

       You will be automatically included in the Settlement unless you elect not to participate,

in which case you will not receive any portion of the Settlement money. In order to elect not to

participate in the Settlement and not receive any Settlement money, you must submit a written

statement to the Settlement Administrator requesting to exclude yourself from the Settlement.

The written statement must include your name, address, telephone number, and the last four

numbers of the social security number you used while performing services for Altak. The written

request for exclusion must be postmarked no later than September 30, 2016.

       G.      Who is Administrating the Settlement?

       The firm Settlement Services, Inc., PO Box 10069, Tallahassee, Florida 32302-2069,

(855) 401-0042, is administering the settlement.

       H.      What Claims Are Being Released?

       If you do not exclude yourself from the Settlement, you will release all claims you may

have against both Defendants relating to allegations that you were not properly paid minimum

wage and overtime wages when you performed work as a Homeworker for Altak, under the

Illinois Minimum Wage Law, 820 ILCS 105/1 et seq. ("IMWL"), the Fair Labor Standards Act

("FLSA"), 29 U.S.C. §201 et seq., and the Illinois Wage Payment and Collection Act, 820 ILCS

115/1 et seq. ("IWPCA"), including but not limited to any claims for interest, and liquidated
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damages, for the time you performed work as a Homeworker and were classified as an

independent contractor between January 24, 2012 and June 29, 2016.

        I.     Class Representative and FLSA Opt-In Plaintiffs' Enhancement Awards:

        In addition to his/her share as a Class Member, Class Representatives will receive a

payment of $10,000 to be paid for their time and effort spent conferring with Plaintiffs’ Counsel,

filing and pursuing the Action, and in recovering wages on behalf of all Class Members. This

Service Payment shall be paid to the Class Representative from the Settlement Fund.

        J.     Attorneys’ Fees and Costs:

        Class Counsel identified below will seek approval from the Court for a payment of

attorneys’ fees and costs in the amount of no more than one third (1/3) of the Settlement Fund

($109,000), which if approved by the Court will be paid by Defendants out of the $363,000

Settlement Fund. Class Counsel believes the amount for attorneys’ fees and costs requested is

fair and reasonable.

        K.     Costs of Administration:

        All costs of administering the settlement, including the Settlement Administrator’s Fees

and Expenses in an amount not to exceed $15,000, will be paid from the $363,000 Settlement

Fund.

        L.     Cy Pres Distribution

        If you do not elect to exclude yourself from the Settlement, a settlement payment will be

mailed to you. You will have 180 days to cash your settlement payment. If you fail to cash your

settlement payment within 180 days, you will forfeit that settlement payment, but you still

release any claims as provided in Section H above. Any unredeemed checks, as well as any
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other unclaimed funds, will be donated to a charity called the Chicago Bar Foundation, a

501(c)(3) organization.

        M.      Updating Your Address:

        If your name and/or current address are incorrect, or if you move, you must inform the

Settlement Administrator. You may update your address by mailing to: Villa-Cortez v. Altak

Settlement Administrator, PO Box 10069, Tallahassee, FL 32302-2069 or by calling (855) 401-

0042.

III.    CLASS REPRESENTATIVE AND CLASS COUNSEL SUPPORT OF THE
        SETTLEMENT

        The Class Representatives and Class Counsel support the Settlement. Class Members will

receive their share of the Net Settlement Fund based on the number of weeks they performed

services as a Homeworker between January 24, 2012 and June 29, 2016. Class Counsel believes

this to be a good result for the Class, especially in light of the risk of denial of class certification,

the risk of a trial on the merits, and the inherent delays and uncertainties associated with

litigation. Based on Class Counsel’s experience litigating similar cases, Class Counsel believes

that further proceedings in this case, including a trial and probable appeals, would be very

expensive and protracted. No one can confidently predict how the various legal questions at

issue, including the amount of damages, would ultimately be resolved. Therefore, upon careful

consideration of all of the facts and circumstances of this case, Class Counsel believes that the

Settlement is fair, reasonable, and adequate.

IV.     WHAT ARE YOUR RIGHTS AS A CLASS MEMBER?

        As a Class Member, you can participate in the Settlement or request exclusion from the

Settlement. If you choose to participate in the Settlement, you can also tell the Court what you do

or do not like about the Settlement.
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       A.      Participating in the Settlement:

       The Class Representatives and Class Counsel represent your interests as a Class Member.

Unless you elect not to participate in the Settlement, you are automatically part of the Class and

you will be bound by the terms of the Settlement and any final judgment that may be entered by

the Court. You will also be deemed to have released your claims against Altak, Inc. and Miko

Kabeshita, as explained in Section II.H, above. As a member of the Class, you will not be

responsible for the payment of attorneys’ fees or reimbursement of litigation expenses, other than

what is stated above, unless you retain your own counsel, in which event you will be responsible

for your own attorneys’ fees and costs. By participating in the Settlement, you will have been

deemed to have given the Settlement Administrator, Settlement Services, Inc., permission to

utilize your Social Security number to facilitate distribution of your Net Settlement Award and

IRS Forms associated with the distribution of your share of the Net Settlement Award.

       B.      Commenting in Favor of the Settlement:

       You may comment in favor of the Settlement in writing and by appearing in person at the

final approval hearing, which will be held on October 18, 2016 at 11:00 a.m. To do so, you must

submit a written notice of your comments and/or your intent to appear and comment in favor of

the Settlement at the final approval hearing no later than September 30, 2016. Your notice must

include the Case Name and Case Number: Maria Villa-Cortez, Xochitl Vargas, and Agustina

Trujillo-Villegas v. Altak, Inc. and Miko Kabeshita, Case No. 15-C-00725, and should also

include your full name, address, telephone number, and the last 4 numbers of the Social

Security number you used while you performed work for Altak.
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           Send your comments to:                         Also send copies of your notice to:
               Clerk of Court                                    Villa-Cortez v. Altak
          United States Courthouse                            Settlement Administrator
      219 S. Dearborn Street, Room 802                              PO Box 10069
           Chicago, Illinois 60602                           Tallahassee, FL 32302-2069

       C.      The Difference Between Objecting and Excluding:

       Objecting is simply telling the Court that you do not like something about the Settlement.

You can object only if you stay in the Class. Excluding yourself is telling the Court that you do

not want to be part of the Class, and you do not want to receive your portion of the Settlement

money. If you exclude yourself, you will not receive any Settlement payment and will have no

basis to object because the case no longer affects you.

       D.      Objecting to the Settlement:

       You may tell the Court you do not like the Settlement or some aspect of it before final

approval, either by filing a written objection or filing a notice of your intent to appear and object

at the final approval hearing. However, if the Court rejects your objection, you will still be bound

by the terms of the Settlement. To object, you must mail a written notice of objection or a written

notice of your intent to appear and object at the final approval hearing to the Court and to the

Settlement Administrator. Your notice must include the Case Name and Case Number Maria

Villa-Cortez, Xochitl Vargas, and Agustina Trujillo-Villegas v. Altak, Inc. and Miko

Kabeshita, Case No. 15-C-00725, and should also include your full name, address, telephone

number, and the last 4 numbers of the Social Security number you used while you

performed work for Altak.

             Send your notice to:                         Also send copies of your notice to:
               Clerk of Court                                    Villa-Cortez v. Altak
          United States Courthouse                            Settlement Administrator
      219 S. Dearborn Street, Room 802                              PO Box 10069
           Chicago, Illinois 60602                           Tallahassee, FL 32302-2069

       Any written objection and/or notice of your intent to appear at the hearing must state each
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specific reason in support of your objection and any legal support for each objection. To be valid

and effective, any written objections and/or notices of intent to appear at the hearing must be

postmarked no later than September 30, 2016. A Class Member who fails to file and serve a

written statement of objection in the manner described above and by the specified deadline will

be deemed to have waived any objections and will be foreclosed from making any objection

(whether by appeal or otherwise) to the Settlement.

       E.       Excluding Yourself from the Settlement:

       If you want to retain your legal rights to pursue your own claim, then you must take steps

to get out of the Class. If you exclude yourself from the Class, you will not participate in the

Settlement or receive any portion of the Settlement money. In order to exclude yourself, you

must send a written request for exclusion to the Settlement Administrator by September 30, 2016

to:

                                      Villa-Cortez v. Altak
                                   Settlement Administrator
                                         PO Box 10069
                                  Tallahassee, FL 32302-2069

       Your request for exclusion must include the Case Name and Case Number: Maria

Villa-Cortez, Xochitl Vargas, and Agustina Trujillo-Villegas v. Altak, Inc. and Miko

Kabeshita, Case No. 15-C-00725, and also should include your full name, address, telephone

number, and the last 4 numbers of the Social Security number you used while you

performed work for Altak. A Class Member who fails to send a written request for exclusion

by September 30, 2016, will be bound by all terms and conditions of the Settlement approved by

the Court, regardless of whether he or she has objected to the Settlement.

       Any person who properly submits a request for exclusion will no longer be a member of

the Class and will not receive any portion of the Settlement. Any such person, at his or her own
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expense, may pursue any claims he or she may have against Atalk or Miko Kabeshita.

V.     FINAL SETTLEMENT APPROVAL HEARING

       The Court will hold a final approval hearing on October 18, 2016 in Courtroom 1919,

Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn Street, Chicago, IL 60602

at 11:00 a.m., to determine whether the settlement should be finally approved as fair, reasonable,

and adequate. The Court will also be asked to approve Class Counsel’s request for costs and

attorneys’ fees and the service payments made to the Class Representatives

       The hearing may be postponed without further notice to the Class. It is not necessary

for you to appear at this hearing. If you have given notice of your comments in favor of the

settlement, or your objection to the settlement, you may appear at the hearing at your

option so long as you have mailed a notice of intent to appear postmarked on or before

September 30, 2016 to the Clerk of the Court and the Settlement Administrator. Their

addresses can be found on pages 9 and 10 of this Notice.

VI.    GETTING MORE INFORMATION

       The above is a summary of the terms of the Settlement. If you wish, you can review the

Settlement Agreement by contacting Class Counsel, Valentin T. Narvaez, Consumer Law Group,

LLC, 6232 N. Pulaski, Suite 200, Chicago, IL 60646, by United States Mail or by telephone at

(312) 878-1302. The pleadings and other records in this litigation, including the Settlement

Agreement, may be examined at any time during regular business hours by contacting Class

Counsel.

      PLEASE DO NOT CONTACT THE COURT OR DEFENDANTS’ COUNSEL
            FOR INFORMATION REGARDING THIS SETTLEMENT.
